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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 IN RE:                                      )
                                             )
 BOLDER ENTERPRISES, LLC                     )    Case No. 18-13666-EEB
                                             )
          Debtors.                           )    Chapter 11
                                             )

                     NOTICE OF POSTPONEMENT OF 2004 EXAMINATION


          PLEASE TAKE NOTICE that the 2004 Examination of Bolder Enterprises, LLC

 authorized by the Court on May 31, 2018, and tentatively scheduled for June 19, 2018, is hereby

 postponed in light of the commencement of Adversary Proceeding No. 18-01173.

 DATED this 18th day of June, 2018.

                                            Respectfully submitted,

                                            SPENCER FANE LLP

                                            /s/ Eric L. Johnson
                                            John O'Brien #15183
                                            Spencer Fane LLP
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                                            Denver, Colorado 80203
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                                            And

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                                            Attorneys for the Eastern Colorado Bank


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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing NOTICE OF
 POSTPONEMENT OF 2004 EXAMINATION was filed with the ECF system, which served
 notification on all parties registered with the ECF system on this 18th day of June, 2018 and sent
 by electronic mail to the following parties:

 Jeffrey Weinman                                     Kenneth J. Buechler
 730 17th St.                                        Buechler & Garber, LLC
 Ste. 240                                            999 18th St.
 Denver, CO 80202                                    Ste., 1230 S
                                                     Denver, CO 80202

 Robert Samuel Boughner
 U.S. Trustee
 Byron G. Rogers Federal Building
 1961 Stout St.
 Ste. 12-200
 Denver, CO 80294




                                              /s/Eric L. Johnson
                                              Eric L. Johnson




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